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             EXHIBIT A
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                                TRAVIS COUNTY District Clerk
                                  DMS Case Document List
Cause Number: d-1-gn-20-001854
    File Date                Category             Description                               Additional Info
   3/27/2020       TDC - Civil - Pleading   ORIGINAL                     PLAINTIFF'S ORIGINAL PETITION
                                            PETITION/APPLICATION

   4/2/2020        TDC - Civil - Issuance   ISS:CITATION                 FORM NUMBER P01-90856 ISSUED BY MELISSA ROMERO
                                                                         (4701) ISS:CITATION E-WRIT ISSUANCE SENT TO PRIVATE
                                                                         PROCESSOR/ATTORNEY 'DIRECT RESULTS'
                                                                         <DIRECTRESULTSLEGAL@YAHOO.COM>

   4/2/2020        TDC - Civil - Issuance   ISS:CITATION                 FORM NUMBER P01-90854 ISSUED BY MELISSA ROMERO
                                                                         (4701) ISS:CITATION E-WRIT ISSUANCE SENT TO PRIVATE
                                                                         PROCESSOR/ATTORNEY 'DIRECT RESULTS'
                                                                         <DIRECTRESULTSLEGAL@YAHOO.COM>

   4/13/2020       TDC - Civil - Pleading   AMENDED              PLAINTIFF?S AMENDED ORIGINAL PETITION
                                            PETITION/SUPPLEMENTA
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Date: 4/22/2020 Time: 12:47:53 PM                          Page 1 of 1                                        DMSCaseRegistry.rdl
            Case 1:20-cv-00494-RP Document 1-1 Filed 05/07/20 Page 3 of 16
                                                                                  3/27/2020 2:34 PM
                                                                                                   Velva L. Price
                                                                                                  District Clerk
                                                                                                  Travis County
                                           D-1-GN-20-001854                                    D-1-GN-20-001854
                                 CAUSE NO. _________________
                                                                                              Victoria Benavides

SHAWN RAMSEY,                                   §       IN THE DISTRICT COURT
                                                §
                Plaintiff,                      §
                                                §
       v.                                       §       OF TRAVIS COUNTY, TEXAS
                                                §
                                                §
                                                §
NGA HUMAN RESOURCES, INC. and                   §
NGA HUMAN RESOURCES, USA                        §
                                                §
                                                      353RD
                Defendant.                      §      ______ JUDICIAL DISTRICT

                               PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW plaintiff SHAWN RAMSEY and hereby files his Original Petition against

NGA HUMAN RESOURCES, USA and NGA HUMAN RESOURCES, INC. and for cause of

action would show this Court and Jury as follows:

                                       DISCOVERY LEVEL

       1.       Discovery is intended to be conducted under Level III of Tex. R. Civ. P. 190.

                                  JURISDICTION AND VENUE

       2.       Jurisdiction is proper within the District Courts of Travis County because Plaintiff’s

damages exceed the minimum amount in controversy for such courts.

       3.       Venue of this cause of action is proper in Travis County, Texas because that is where

the cause of action accrued.

                                          JURY DEMAND

       4.       Plaintiff demands a jury trial on all issues so triable.

                                              PARTIES

       5.       Plaintiff, Shawn Ramsey, is a former employee of Defendants who lives in Travis
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County, Texas.

       6.       Defendants, NGA HUMAN RESOURCES, INC. and NGA HUMAN RESOURCES

USA maintain an office in Texas at 810 Hesters Crossing, Suite 250 Round Rock, Texas 78681.

However, neither Defendant has a registered agent listed with the Texas Secretary of State.

Defendants will be served with process by a process server through their local address.

                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       7.       Plaintiff filed a “Charge of Discrimination” with the Texas Workforce Commission

within 180 days of Defendant’s illegal actions, and is filing this lawsuit within two years from the

date that he filed his charge with the Texas Workforce Commission.

                                             FACTS

       8.       Plaintiff, Shawn Ramsey was hired by Defendants in June 2017 as a Global

Enterprise Sales Executive. During the time Mr. Ramsey worked for the Defendants, he worked

exclusively from his home office in The Hills, Texas.

       9.       In or around early December 2017, Mr. Ramsey notified his manager of a medical

impairment from which he was suffering. Mr. Ramsey informed him that he was not feeling well,

and that he had been having severe headaches. Mr. Ramsey told his manager that he had had

constant headaches on a daily basis for about a year. Mr. Ramsey told him that sometimes the

headaches were not too bad, but sometimes they made it hard for him to focus and concentrate, and

he needed to be able to go to a quiet and dark place. The manager asked Mr. Ramsey if he had a

diagnosis, and Mr. Ramsey told him that he had had a CAT scan done that showed a mass on his

right temporal lobe, and that he had been advised to consult a neurosurgeon to get an MRI. The

manager responded that that didn’t sound good. Mr. Ramsey informed other employees of

Defendant about these impairments as well.
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        10.     On January 4, 2018, Defendant terminated Mr. Ramsey’s employment. The reason

given for the termination - downsizing and making cuts to the North American team - was a pretext

for terminating Mr. Ramsey because of his disclosure of his medical impairment to Defendant.

                                       CAUSES OF ACTION

                           Violations of Chapter 21, Texas Labor Code

        11.     Plaintiff incorporates all preceding paragraphs of this petition as if they were set forth

within this cause of action.

        12.     Defendants are “employers” and “respondents” under the Texas Commission on

Human Rights Act (“TCHRA”), Chapter 21 of the Texas Labor Code.

        13.     Under the TCHRA, it is unlawful for an employer to discriminate against any

individual with respect to his employment because of that individual’s disability.

        14.     Plaintiff was qualified for and could perform the essential functions of his job at the

time of his termination. Plaintiff is a qualified individual with a disability, is a qualified individual

with a record of a disability, and was regarded by the Defendant as a person with a disability.

Plaintiff was substantially limited in major life activities, including seeing and concentrating.

        15.     Defendant violated the TCHRA by intentionally discriminating against Plaintiff

because of his disability, his record of disability, and/or because Defendant regarded Plaintiff as

disabled. Plaintiff’s disability and/or Defendant’s perception of Plaintiff as a person with a

disability moved Defendant toward its decision or was a factor that played a part in Defendant’s

employment decisions as to Plaintiff.

                                  NO FEDERAL LAW CLAIMS

        16.     By this reference, Plaintiff hereby incorporates all preceding paragraphs of this

petition as if they were set forth herein.
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        17.     Plaintiff states that any and all claims and any and all requests for damages are made

pursuant to Texas State law and to the exclusion of any Federal law.

                                              DAMAGES

        18.     As a direct and proximate result of Defendant’s violations of law, Plaintiff has

suffered actual economic damages in the form of lost wages and/or benefits (past and future) and

other economic damages and losses. Plaintiff has also suffered real and serious emotional distress,

loss of enjoyment of life, and other compensatory damages and losses. Further, the conduct

committed by Defendant against Plaintiff is the type of conduct demonstrating malice or reckless

indifference to the rights of the Plaintiff. Therefore, Plaintiff additionally brings suit for punitive

damages.

        19.     As a result of Defendant’s violations of law, Plaintiff requests all actual, economic,

compensatory, and other damages or remedies to which he proves himself entitled, equitable,

statutory or otherwise, and attorney fees, expert fees, expenses and costs.

        20.     Plaintiff’s damages are ongoing and at the time of the filing of this suit, Plaintiff

cannot accurately specify the amount that Plaintiff will ultimately seek at trial. However, Rule 47,

Texas Rules of Civil Procedure, requires Plaintiff to estimate a preliminary range of damages and

accordingly, Plaintiff states that at this time this suit seeks monetary relief, including attorneys fees,

costs, expenses, interest and other monetary expenses, over $200,000, but not more than $1,000,000.

Plaintiff reserves the right to seek a different amount at trial as the evidence so supports.

                                      PRAYER FOR RELIEF

        21.     WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that

Defendant be cited and called to answer, and that on final judgment Plaintiff be granted relief under

Texas State law, to the exclusion of Federal law, including:
  Case 1:20-cv-00494-RP Document 1-1 Filed 05/07/20 Page 7 of 16




a) Reinstatement or, in the alternative, front pay

b) Damages for lost wages and benefits, past and future;

c) Compensatory damages;

d) Damages for emotional distress and mental anguish, past and future;

e) Punitive damages

f) Attorney fees, expert fees, expenses and costs of suit;

g) Interest allowed by law;

h) General damages;

i) Special damages;

j) Such other and further relief if Plaintiff is shown to be entitled.

                                        Respectfully submitted,

                                        /s/ Kell A. Simon
                                        Kell A. Simon
                                        State Bar No. 24060888
                                        LAW OFFICES OF KELL A. SIMON
                                        501 North IH-35, Suite 111
                                        Austin, Texas 78702
                                        Phone (512) 898-9662
                                        Fax (512) 368-9144
                                        kell@kellsimonlaw.com

                                        ATTORNEY FOR PLAINTIFF
                   Case 1:20-cv-00494-RP Document 1-1 Filed 05/07/20 Page 8 of 16


                Shawn Ramsey v. NGA Human Resources, Inc. et al.




                                                                          x

 Kell Simon                kell@kellsimonlaw.com    Shawn Ramsey


501 North IH35 Suite 111   512-898-9662

                                                   NGA Human Resources,
Austin, TX 78702            512-3689144
                                                   Inc. and
                                                   NGA Human Resources,
                            24060888               USA




x




x
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Case 1:20-cv-00494-RP Document 1-1 Filed 05/07/20 Page 11 of 16
           Case 1:20-cv-00494-RP Document 1-1 Filed 05/07/20 Page 12 of 16
                                                                                 4/13/2020 4:06 PM
                                                                                                  Velva L. Price
                                                                                                 District Clerk
                                                                                                 Travis County
                                CAUSE NO.D-1-GN-20-001854
                                         _________________                                    D-1-GN-20-001854
                                                                                              Adrian Rodriguez

SHAWN RAMSEY,                                  §       IN THE DISTRICT COURT
                                               §
               Plaintiff,                      §
                                               §
       v.                                      §       OF TRAVIS COUNTY, TEXAS
                                               §
                                               §
                                               §
NORTHGATEARINSO, INC. D/B/A/                   §
NGA HUMAN RESOURCES, INC. and                  §
NGA HUMAN RESOURCES USA                        §
                                               §
               Defendant.                      §       ______ JUDICIAL DISTRICT

                     PLAINTIFF’S AMENDED ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW plaintiff SHAWN RAMSEY and hereby files his Amended Original Petition

against NORTHGATEARINSO, INC. and for cause of action would show this Court and Jury as

follows:

                                      DISCOVERY LEVEL

       1.      Discovery is intended to be conducted under Level III of Tex. R. Civ. P. 190.

                                 JURISDICTION AND VENUE

       2.      Jurisdiction is proper within the District Courts of Travis County because Plaintiff’s

damages exceed the minimum amount in controversy for such courts.

       3.      Venue of this cause of action is proper in Travis County, Texas because that is where

the cause of action accrued.

                                         JURY DEMAND

       4.      Plaintiff demands a jury trial on all issues so triable.

                                             PARTIES
        Case 1:20-cv-00494-RP Document 1-1 Filed 05/07/20 Page 13 of 16




       5.      Plaintiff, Shawn Ramsey, is a former employee of Defendants who lives in Travis

County, Texas.

       6.      Defendant, NorthgateArinso, Inc, D/B/A/, NGA HUMAN RESOURCES, INC. and

NGA HUMAN RESOURCES USA maintain an office in Texas at 810 Hesters Crossing, Suite 250

Round Rock, Texas 78681, but does not have a registered agent in Texas. Counsel for

NorthgateArinso, Inc., Bruce Griggs of the law firm of Ogletree Deakins, has agreed to accept

service on behalf of NorthgateArinso, Inc.

                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       7.      Plaintiff filed a “Charge of Discrimination” with the Texas Workforce Commission

within 180 days of Defendant’s illegal actions, and is filing this lawsuit within two years from the

date that he filed his charge with the Texas Workforce Commission.

                                             FACTS

       8.      Plaintiff, Shawn Ramsey was hired by Defendants in June 2017 as a Global

Enterprise Sales Executive. During the time Mr. Ramsey worked for the Defendants, he worked

exclusively from his home office in The Hills, Texas.

       9.      In or around early December 2017, Mr. Ramsey notified his manager of a medical

impairment from which he was suffering. Mr. Ramsey informed him that he was not feeling well,

and that he had been having severe headaches. Mr. Ramsey told his manager that he had had

constant headaches on a daily basis for about a year. Mr. Ramsey told him that sometimes the

headaches were not too bad, but sometimes they made it hard for him to focus and concentrate, and

he needed to be able to go to a quiet and dark place. The manager asked Mr. Ramsey if he had a

diagnosis, and Mr. Ramsey told him that he had had a CAT scan done that showed a mass on his

right temporal lobe, and that he had been advised to consult a neurosurgeon to get an MRI. The
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manager responded that that didn’t sound good. Mr. Ramsey informed other employees of

Defendant about these impairments as well.

        10.     On January 4, 2018, Defendant terminated Mr. Ramsey’s employment. The reason

given for the termination - downsizing and making cuts to the North American team - was a pretext

for terminating Mr. Ramsey because of his disclosure of his medical impairment to Defendant.

                                       CAUSES OF ACTION

                           Violations of Chapter 21, Texas Labor Code

        11.     Plaintiff incorporates all preceding paragraphs of this petition as if they were set forth

within this cause of action.

        12.     Defendants are “employers” and “respondents” under the Texas Commission on

Human Rights Act (“TCHRA”), Chapter 21 of the Texas Labor Code.

        13.     Under the TCHRA, it is unlawful for an employer to discriminate against any

individual with respect to his employment because of that individual’s disability.

        14.     Plaintiff was qualified for and could perform the essential functions of his job at the

time of his termination. Plaintiff is a qualified individual with a disability, is a qualified individual

with a record of a disability, and was regarded by the Defendant as a person with a disability.

Plaintiff was substantially limited in major life activities, including seeing and concentrating.

        15.     Defendant violated the TCHRA by intentionally discriminating against Plaintiff

because of his disability, his record of disability, and/or because Defendant regarded Plaintiff as

disabled. Plaintiff’s disability and/or Defendant’s perception of Plaintiff as a person with a

disability moved Defendant toward its decision or was a factor that played a part in Defendant’s

employment decisions as to Plaintiff.
         Case 1:20-cv-00494-RP Document 1-1 Filed 05/07/20 Page 15 of 16




                                  NO FEDERAL LAW CLAIMS

        16.     By this reference, Plaintiff hereby incorporates all preceding paragraphs of this

petition as if they were set forth herein.

        17.     Plaintiff states that any and all claims and any and all requests for damages are made

pursuant to Texas State law and to the exclusion of any Federal law.

                                              DAMAGES

        18.     As a direct and proximate result of Defendant’s violations of law, Plaintiff has

suffered actual economic damages in the form of lost wages and/or benefits (past and future) and

other economic damages and losses. Plaintiff has also suffered real and serious emotional distress,

loss of enjoyment of life, and other compensatory damages and losses. Further, the conduct

committed by Defendant against Plaintiff is the type of conduct demonstrating malice or reckless

indifference to the rights of the Plaintiff. Therefore, Plaintiff additionally brings suit for punitive

damages.

        19.     As a result of Defendant’s violations of law, Plaintiff requests all actual, economic,

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statutory or otherwise, and attorney fees, expert fees, expenses and costs.

        20.     Plaintiff’s damages are ongoing and at the time of the filing of this suit, Plaintiff

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Texas Rules of Civil Procedure, requires Plaintiff to estimate a preliminary range of damages and

accordingly, Plaintiff states that at this time this suit seeks monetary relief, including attorneys fees,

costs, expenses, interest and other monetary expenses, over $200,000, but not more than $1,000,000.

Plaintiff reserves the right to seek a different amount at trial as the evidence so supports.
         Case 1:20-cv-00494-RP Document 1-1 Filed 05/07/20 Page 16 of 16




                                     PRAYER FOR RELIEF

       21.     WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that

Defendant be cited and called to answer, and that on final judgment Plaintiff be granted relief under

Texas State law, to the exclusion of Federal law, including:

       a) Reinstatement or, in the alternative, front pay

       b) Damages for lost wages and benefits, past and future;

       c) Compensatory damages;

       d) Damages for emotional distress and mental anguish, past and future;

       e) Punitive damages

       f) Attorney fees, expert fees, expenses and costs of suit;

       g) Interest allowed by law;

       h) General damages;

       i) Special damages;

       j) Such other and further relief if Plaintiff is shown to be entitled.

                                               Respectfully submitted,

                                               /s/ Kell A. Simon
                                               Kell A. Simon
                                               State Bar No. 24060888
                                               LAW OFFICES OF KELL A. SIMON
                                               501 North IH-35, Suite 111
                                               Austin, Texas 78702
                                               Phone (512) 898-9662
                                               Fax (512) 368-9144
                                               kell@kellsimonlaw.com

                                               ATTORNEY FOR PLAINTIFF
